             Case 4:20-cv-00145-SDJ-CAN Document 1-2 Filed 02/26/20 Page 1 of 1 PageID #: 15
JS44 (Rev. 06/17)                                                     CIVIL COVER SHEET
The JS 4 civil cover sheet and the infonnation contained herein neither replace nor supplement the filing and sendee of pleadings or other a ers as require by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
pur ose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)
I. (a) PLAINTIFFS                                                                                         DEFENDANTS
Craig Cunningham                                                                                        4Bush Holdings, LLC

   (b) County of Residence of First Listed Plaintiff                                                      County of Residence of First Listed Defendant
                       (EXCEPT IN US. PLAINTIFF CASES)                                                                                  (IN S. PLAINTIFF CA ES ONLY)
                                                                                                          NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                  THE TRACT OF LAND INVOLVED.

   (C) Attorneys (Firm Name, Address, and Telephone mber)                                                  Atto eys (IfKnown)




II. BASIS OF JURISDICTION (Place cm X" in One Box Only)                                      III. CITIZENSHIP OF PRINCIPAL P ARTIES (Place an "X" in One Box for Plaintiff
                                                                                                     (For Diver ity Cases Only)                                        and O e Box for Defend t)
a i   U.S. Government                     Federal Question                                                                      PTF       DEF                                            PTF       DEF
          Plainti f                         (U.S. Government Not a Party)                       Citizen of Tliis State            1       a i      Incorporated or Principal Place             4      4
                                                                                                                                                      of Business I This Stat

   2 U.S. Government                 4    Div rsity                                             Citizen of Another State        a2            2    Incorporated and Principal Place            5   a5
          Defendant                         (Indicate Citizenship of Parties in Ite III)                                                              of Business In Another State

                                                                                                Citizen or Subject of a             3         3    Foreign Nation                              6   a6
                                                                                                   Foreign Country
IV. NATURE OF SUIT (Place a                                    X" in One Box Only)Click here for: Nature ol Suit Code Descriptions.
     CONTRACT                                      TORTS                                          FORFEITURE/PENALTY                        BANKRUPTCY                       OTHER ST TUTES 1
   110 Insurance                    PE SONAL INJURY     PERSONAL INJURY                            625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
   120 Marine                       310 Airplane                    365 Per onal Injurs -              of Propert 21 USC 881            423 Withdrawal                    376 Qui Tom (31 USC
   1 0 Miller Act                    15 Airplane Product                 Product Liability         690 Other                                28 USC 157                        3729(a))
   140 Negotiable Instrument             Liability                  367 Healtli Care/                                                                                     400 St te Reapportionm nt
   150 Recovery of Overpayment      320 Assault, Libel &                Pharmaceutical                                                  PROPERTY RIGHTS                   410 Antitrust
      & Enforc ment of Judgment         Slander                         Personal Injury                                                 820 Cop rights                    430 Bank and Banking
   151 e icare Act                  330 Fe eral Employers               Product Liability                                               830 Patent                        450 Comm rc
   152 Recovery of Default d             Liability                  368 Asbestos Personal                                               835 Patent - Abbreviated          460 Deportation
      Student Loans                 340 Marine                          Injur Product                                                       New Drug Applic tion          470 R cketeer Influenc d and
      (Excludes Veterans)           345 Marine Product                Liability                                                         840 Trademark                        Corrupt Or anizations
   153 Recovery of Overpayment           Liability                PERSON L PROPERTY                           L BOR                     SOCIAL SECURITY                   480 Consumer Credit
      of Veteran s B nefits         350 Motor Vehicle               370 Other Fraud                710 Fair Labor Standards             861 HIA (I3951T)                  490 Cable/Sat TV
   160 Stockhold rs’ S its          355 Mo or Vehicle               371 Truth in Lending                Act                             862 Black Lung (923)              850 Securities/Commoditi s
   190 Other Contract                    Product Liability          380 Other Personal             720 Labor/Management                 863 DTO C/DIWW (405(g))               Exchange
   195 Contract Product Liabili y   360 Other Personal                  Property Da age                Relations                        864 SSID Title XVI                890 Other Statutory Actions
   196 Fr nchise                         Injury                     385 Property Damage            740 Rail ay L bor Act                865 RSI (405(g))                  891 Agricult r l Acts
                                    362 Personal Injury -               Pro uct Liability          751 Family and Medical                                                893 Environmental tters
                                         Medic l M lpractice                                            Leave Act                                                     G 895 Freedom of Infonnation
       REAL PROPERTY                 CIVIL RIGHTS                 PRISONER PETITIONS               790 Other L bor Litigation           FEDERAL TAX SUITS                    Act
   210 Land Condemnation            4 0 Other Civil Rights          Habeas Corpus:                 791 Employee Retirement              870 Taxes (U.S. Plaintiff        896 Arbitration
Cl 220 Foreclosure                  441 Voti g                      463 Alien Detainee                 Income Security Act                  or Defendant)             G 899 Administrative Procedure
   230 Rent Lea e & Ejectment       442 Employment                  510 Motions to Vacate                                               871 IRS Third Party                 Act/R view or App al o
   2 0 Torts to Land                443 Housing/                        Sentence                                                            26 USC 7609                     Agency Decisi n
Cl 245 Tort Product Liability          Accommodaticms               530 General                                                                                       G 950 Constitutionality f
   290 All Other Real Property       45 Amer. w/Disabilities -      535 Death Penalty                   IMMIGRATION                                                           State Statutes
                                       Employment                   Other:                         462 Naturaliz tion Application
                                    446 Amer. w/Disabilities -      540 Mandamus & Other           465 Other Immigration
                                       Other                        550 Civil Ri hts                   Actions
                                    448 Education                   555 Priso Condition
                                                                    560 Civil Detainee -
                                                                       Conditions of
                                                                       Confinement

V. ORIGIN (Place an X" in On Box Only)
   1 Original 2 Removed from 3 Remanded from 4 Reinstated or 0 5 Transferred from O 6 Multidistrict O 8 Multidistrict
     Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
                                                                     ( pecify)TransferDirect File
                                     Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes u less diversity)'.
                     47 USC 227
VI. CAUSE OF ACTION Brief description of cause:
                                      Illegal Telemarketing
VII. REQUESTED IN CHECK IF TfflS IS A CLASS ACTION DEMANDS CHECK YES only if demanded co plaint:
     COMPLAINT:UNDERRULE 23, F.R.CV.P.25,000.00JURY DEMAND: ]% Yes DNo
